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What's Not Included
           Duties arising from regulatory requirements to which the Bureau is subject
                       The list is limited to statutory requirements, though the Bureau is subject to regulatory requirements, as well.

            Duties arising from the Bureau's own regulations
                        In some circumstances, the Bureau's regulations require it to maintain certain infrastructure or follow certain processes.

            Duties arising from Executive Orders

            MOU, Consultation, and Coordination Requirements
                     There are several instances where the Bureau is required to enter into MOUs, to consult with stakeholders, or to coordinate on various topics. These are not separately listed here.

            Completed mandatory rulemaking
                      Many mandatory rulemakings have already been completed (for example, TILA-RESPA Integrated Disclosures) such that no further action is needed for compliance.

            Prohibitions
                        The Bureau is prohibited from doing certain things, especially in its role as federal employer, and it maintains certain roles to ensure compliance.

            Resources to Accomplish Duties
                       Every duty requires some number of people, including support staff, and some amount of resources. This list does not estimate what is required to meet each task.




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                                                (b)Advisory Committee Management Officer.—The head of each agency that has an
                                                advisory committee shall designate an Advisory Committee Management Officer who
                                                shall—
                                                (1)exercise control and supervision over the establishment, procedures, and
5 U.S.C. 1007                  FACA             accomplishments of advisory committees established by the agency;                       Advisory Committee Management Officer
                                                (2)assemble and maintain the reports, records, and other papers of any advisory
                                                committee established by the agency during the advisory committee’s existence; and
                                                (3)carry out, on behalf of the agency, the provisions of section 552 of this title with
                                                respect to such reports, records, and other papers.

                                                Each Federal agency shall—
                                                (1)be responsible for the fair and impartial processing and resolution of complaints of
                                                employment discrimination (including retaliation) prohibited by a provision of law
                                                covered by paragraph (1) or (2) of section 201(a); and
                                                (2)establish a model Equal Employment Opportunity Program that—
Pub. L. No. 107-174 (2002), sec.
                                 NO FEAR Act    (A)is not under the control, either structurally or practically, of the agency’s Office of   Equal Employment Opportunity Program
401 (5 U.S.C. 2301(note))
                                                Human Capital or Office of the General Counsel (or the equivalent);
                                                (B)is devoid of internal conflicts of interest and ensures fairness and inclusiveness
                                                within the agency; and
                                                (C)ensures the efficient and fair resolution of complaints alleging discrimination
                                                (including retaliation).
                                                The Bureau shall establish an Office of Minority and Women Inclusion. ... The Director
                                                of each Office shall be appointed by, and shall report to, the agency administrator.
12 U.S.C. 5452(a)–(b)          DFA              The position of Director shall be a career reserved position in the Senior Executive   OMWI
                                                Service, as that position is defined in section 3132 of title 5, or an equivalent
                                                designation.
                                                Statutory provision establishing the CFPB and the offices of Director and Deputy
12 U.S.C. 5491                 CFPA                                                                                                          CFPB, Director, and Deputy Director
                                                Director.
                                                [T]he Bureau shall appoint an ombudsman [which] shall—
                                                (i)act as a liaison between the Bureau and any affected person with respect to any
                                                problem that such party may have in dealing with the Bureau, resulting from the
12 U.S.C. 5493(a)(5)           CFPA                                                                                                          CFPB Ombudsman
                                                regulatory activities of the Bureau; and
                                                (ii)assure that safeguards exist to encourage complainants to come forward and
                                                preserve confidentiality.
                                                Research. The Director shall establish a unit whose functions shall include
12 U.S.C. 5493(b)(1)           CFPA                                                                                                          Office of Research
                                                researching, analyzing, and reporting on ... [a number of items]
                                                Community Affairs. The Director shall establish a unit whose funcitons shall incude
                                                providing information, guidance, and technical assistance regaridng the offering and
12 U.S.C. 5493(b)(2)           CFPA                                                                                                          Community Affairs
                                                provision of consumer financial products or services to tranditionally underserved
                                                consumers and communities.



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                                             The Director shall establish a unit whose functions shall include ... consumer
12 U.S.C. 5493(b)(3)(A)     CFPA                                                                                                        Consumer Response/Complaints
                                             complaints
                                             The Director shall establish within the Bureau the Office of Fair Lending and Equal
12 U.S.C. 5493(c)(1), (3)   CFPA             Opportunity. . . . There is established the position of Assistant Director of the Bureau   Office of Fair Lending
                                             for Fair Lending and Equal Opportunity....
                                             The Director shall establish an Office of Financial Education, which shall be
12 U.S.C. 5493(d)(1)        CFPA             responsible for developing and implementing initiatives intended to educate and            Office of Financial Education
                                             empower consumers to make better informed financial decisions.

                                             Office of Service Member Affairs. The Director shall establish an Office of Service
                                             Member Affairs which shall be responsible for developing and implementing initiatives
                                             for service members and their families intended to— (A) educate and empower
                                             service members and their families to make better informed decisions regarding
                                             consumer financial products and services; (B) coordinate with the unit of the Bureau
12 U.S.C. 5493(e)(1)        CFPA             established under subsection (b)(3), in order to monitor complaints by service        Office of Service Member Affairs
                                             members and their families and responses to those complaints by the Bureau or other
                                             appropriate Federal or State agency; and (C) coordinate efforts among Federal and
                                             State agencies, as appropriate, regarding consumer protection measures relating to
                                             consumer financial products and services offered to, or used by, service members and
                                             their families.

                                             Office of Financial Protection for Older Americans. [T]he Director shall establish the
12 U.S.C. 5493(g)(1)–(2)    CFPA             Office of Financial Protection for Older Americans... [which] shall be headed by an        Office of Older Americans
                                             assistant director.

                                             The [Treasury] Secretary, in consultation with the Director, shall designate a Private
12 U.S.C. 5535(a)           CFPA             Education Loan Ombudsman (in this section referred to as the ‘‘Ombudsman’’) within Student Loan Ombudsman
                                             the Bureau, to provide timely assistance to borrowers of private education loans.

                                             The head of each agency [including CFPB] shall designate a Chief Information Officer,
                                             who shall head an office responsible for ensuring agency compliance with and prompt,
44 U.S.C. 3506(a)(2)        PRA              efficient, and effective implementation of the information policies and information   Chief Information Officer
                                             resources management responsibilities established under this subchapter, including
                                             the reduction of information collection burdens on the public.


                                             With respect to the collection of information and the control of paperwork, each
                                             agency shall—
                                             (1)establish a process within the office headed by the Chief Information Officer
44 U.S.C. 3506(c)           PRA                                                                                                         Chief Information Officer
                                             designated under subsection (a), that is sufficiently independent of program
                                             responsibility to evaluate fairly whether proposed collections of information should be
                                             approved under this subchapter, to [carry out a list of specified duties]




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                                                      The head of each agency [including CFPB] shall designate a nonpolitical appointee
44 U.S.C. 3520                    Evidence Act/OGDA                                                                                         Chief Data Officer
                                                      employee in the agency as the Chief Data Officer of the agency.
                                                      [Requiring designation of an agency information security officer, who shall head an
44 U.S.C. 3554(a)(3)              FISMA               office with the mission and resources to assist in ensuring agency compliance with    Information Security Officer
                                                      this section.]



Other Roles of Bureau Officials

12 U.S.C. 1812(a)(1)(B)           FDIA                [Director shall be a member of the FDIC Board of Directors]

12 U.S.C. 3303(a)(4)              FIRIRCA             [Director shall be a member of the FFIEC]
                                                      There shall be within the Council a subcommittee to be known as the “Appraisal
12 U.S.C. 3310                    FFIEC               Subcommittee”, which shall consist of the designees of the heads of the Federal
                                                      financial institutions regulatory agencies, the Bureau of Consumer Financial
12 U.S.C. 5321(b)(1)(D)           DFA                 [Director shall be a voting member of the Financial Stability Oversight Council]




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                                Government Organization and
Title 5 of U.S.C.                                             [Requirements for the organization of the workforce.]
                                Employees, Generally
5 U.S.C. 552                    FOIA                          [Requirements for establishing a Freedom of Information Act program.]
5 U.S.C. 552a                   Privacy Act                   [Requirements for establishing a Privacy Act compliance program.]
                                                              Each agency shall give an interested person the right to petition for the issuance,
5 U.S.C. 553(e)                 APA
                                                              amendment, or repeal of a rule.
                                                              Prompt notice shall be given of the denial in whole or in part of a written application,
                                                              petition, or other request of an interested person made in connection with any
5 U.S.C. 555(e)                 APA                           agency proceeding. Except in affirming a prior denial or when the denial is self-
                                                              explanatory, the notice shall be accompanied by a brief statement of the grounds
                                                              for denial.
                                                              "For each rule or group of related rules for which an agency is required to prepare a
                                                              final regulatory flexibility analysis under section 605(b) of title 5, United States
Pub. L. No. 104–121 (1996),
                                SBREFA                        Code, the agency shall publish 1 or more guides to assist small entities in
sec. 212 (5 U.S.C. 601(note))
                                                              complying with the rule and shall entitle such publications ‘small entity compliance
                                                              guides’."

                                                              Whenever appropriate in the interest of administering statutes and regulations
Pub. L. No. 104–121 (1996),                                   within the jurisdiction of an agency which regulates small entities, it shall be the
sec. 213(a) (5 U.S.C.           SBREFA                        practice of the agency to answer inquiries by small entities concerning information
601(note))                                                    on, and advice about, compliance with such statutes and regulations, interpreting
                                                              and applying the law to specific sets of facts supplied by the small entity.

                                                              The Bureau shall develop and maintain a system for registering employees of a
                                                              depository institution, employees of a subsidiary that is owned and controlled by a
12 U.S.C. 5106(a)(1)            SAFE Act                      depository institution and regulated by a Federal banking agency, or employees of          NMLS Registry
                                                              an institution regulated by the Farm Credit Administration, as registered loan
                                                              originators with the Nationwide Mortgage Licensing System and Registry.

12 U.S.C. 5452                  DFA                           [Listing the duties of OMWI]                                                               Duties of OMWI
                                                              [T]he Bureau shall appoint an ombudsman [which] shall—
                                                              (i)act as a liaison between the Bureau and any affected person with respect to any
                                                              problem that such party may have in dealing with the Bureau, resulting from the
12 U.S.C. 5493(a)(5)            CFPA                                                                                                                     Duties of the CFPB Ombudsman
                                                              regulatory activities of the Bureau; and
                                                              (ii)assure that safeguards exist to encourage complainants to come forward and
                                                              preserve confidentiality.




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                          Government Organization and
Title 5 of U.S.C.                                       [Requirements for the organization of the workforce.]
                          Employees, Generally

                                                        The Director shall establish a unit whose functions shall include researching,
                                                        analyzing, and reporting on—
                                                        (A)developments in markets for consumer financial products or services, including
                                                        market areas of alternative consumer financial products or services with high
                                                        growth rates and areas of risk to consumers;
                                                        (B)access to fair and affordable credit for traditionally underserved communities;
                                                        (C)consumer awareness, understanding, and use of disclosures and
12 U.S.C. 5493(b)(1)      CFPA                                                                                                               Duties of the Office of Research
                                                        communications regarding consumer financial products or services;
                                                        (D)consumer awareness and understanding of costs, risks, and benefits of
                                                        consumer financial products or services;
                                                        (E)consumer behavior with respect to consumer financial products or services,
                                                        including performance on mortgage loans; and
                                                        (F)experiences of traditionally underserved consumers, including un-banked and
                                                        under-banked consumers.


                                                        The Director shall establish a unit whose functions shall include establishing a
                                                        single, toll-free telephone number, a website, and a database or utilizing an existing Functions of Consumer
12 U.S.C. 5493(b)(3)(A)   CFPA
                                                        database to facilitate the centralized collection of, monitoring of, and response to   Response/Complaint Unit
                                                        consumer complaints regarding consumer financial products or services.


                                                        The Director shall coordinate with the Federal Trade Commission or other Federal     Functions of Consumer
12 U.S.C. 5493(b)(3)(A)   CFPA
                                                        agencies to route complaints to such agencies, where appropriate.                    Response/Complaint Unit


                                                        To facilitate preparation of the reports required under subparagraph (C),
                                                        supervision and enforcement activities, and monitoring of the market for consumer
                                                        financial products and services, the Bureau shall share consumer complaint
                                                        information with prudential regulators, the Federal Trade Commission, other
                                                        Federal agencies, and State agencies, subject to the standards applicable to
                                                        Federal agencies for protection of the confidentiality of personally identifiable
12 U.S.C. 5493(b)(3)(D)   CFPA                                                                                                            Complaint Data Sharing
                                                        information and for data security and integrity. The prudential regulators, the
                                                        Federal Trade Commission, and other Federal agencies shall share data relating to
                                                        consumer complaints regarding consumer financial products and services with the
                                                        Bureau, subject to the standards applicable to Federal agencies for protection of
                                                        confidentiality of personally identifiable information and for data security and
                                                        integrity.




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                        Government Organization and
Title 5 of U.S.C.                                     [Requirements for the organization of the workforce.]
                        Employees, Generally

                                                      The Office of Fair Lending and Equal Opportunity shall have such powers and
                                                      duties as the Director may delegate to the Office, including—
                                                      (A)providing oversight and enforcement of Federal laws intended to ensure the fair,
                                                      equitable, and nondiscriminatory access to credit for both individuals and
                                                      communities that are enforced by the Bureau, including the Equal Credit
                                                      Opportunity Act [15 U.S.C. 1691 et seq.] and the Home Mortgage Disclosure Act
                                                      [12 U.S.C. 2801 et seq.];
12 U.S.C. 5493(c)(2)    CFPA                                                                                                                   Duties of the Office of Fair Lending
                                                      (B)coordinating fair lending efforts of the Bureau with other Federal agencies and
                                                      State regulators, as appropriate, to promote consistent, efficient, and effective
                                                      enforcement of Federal fair lending laws;
                                                      (C)working with private industry, fair lending, civil rights, consumer and community
                                                      advocates on the promotion of fair lending compliance and education; and
                                                      (D)providing annual reports to Congress on the efforts of the Bureau to fulfill its fair
                                                      lending mandate.


                                                      The Office of Financial Educaiton shall develop and implement a strategy ....in
                                                                                                                                         Duties of the Office of Financial
12 U.S.C. 5493(d)(2)    CFPA                          consultation with the Financial Literacy and Education Commission, consistent with
                                                                                                                                         Education
                                                      the National Strategy for Financial Literacy. [Includes a list of activiites..]




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                         Government Organization and
Title 5 of U.S.C.                                      [Requirements for the organization of the workforce.]
                         Employees, Generally


                                                       The Office [of Older Americans] shall—
                                                       (A)develop goals for programs that provide seniors financial literacy and
                                                       counseling, including programs that—
                                                       (i)help seniors recognize warning signs of unfair, deceptive, or abusive practices,
                                                       protect themselves from such practices;
                                                       (ii)provide one-on-one financial counseling on issues including long-term savings
                                                       and later-life economic security; and
                                                       (iii)provide personal consumer credit advocacy to respond to consumer problems
                                                       caused by unfair, deceptive, or abusive practices;
                                                       (B)monitor certifications or designations of financial advisors who advise seniors
                                                       and alert the Commission and State regulators of certifications or designations that
                                                       are identified as unfair, deceptive, or abusive;
12 U.S.C. 5493(g)(3)     CFPA                          ...                                                                                   Duties of the Office of Older Americans
                                                       (D)conduct research to identify best practices and effective methods, tools,
                                                       technology and strategies to educate and counsel seniors about personal finance
                                                       management with a focus on—
                                                       (i)protecting themselves from unfair, deceptive, and abusive practices;
                                                       (ii)long-term savings; and
                                                       (iii)planning for retirement and long-term care;
                                                       (E)coordinate consumer protection efforts of seniors with other Federal agencies
                                                       and State regulators, as appropriate, to promote consistent, effective, and efficient
                                                       enforcement; and
                                                       (F)work with community organizations, non-profit organizations, and other entities
                                                       that are involved with educating or assisting seniors (including the National
                                                       Education and Resource Center on Women and Retirement Planning).


                                                       The Director shall establish a Consumer Advisory Board to advise and consult with
                                                       the Bureau in the exercise of its functions under the Federal consumer financial
12 U.S.C. 5494           CFPA                          laws, and to provide information on emerging practices in the consumer financial  Consumer Advisory Board
                                                       products or services industry, including regional trends, concerns, and other
                                                       relevant information.
                                                       All public data assets published by the Bureau shall be—
                                                       (1)made available as an open Government data asset (as defined in section 3502
                                                       of title 44);
12 U.S.C. 5499           CFPA
                                                       (2)freely available for download;
                                                       (3)rendered in a human-readable format; and
                                                       (4)accessible via application programming interface where appropriate.




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                               Government Organization and
Title 5 of U.S.C.                                            [Requirements for the organization of the workforce.]
                               Employees, Generally


                                                             The primary functions of the Bureau are—
                                                             (1)conducting financial education programs;
                                                             (2)collecting, investigating, and responding to consumer complaints;
                                                             (3)collecting, researching, monitoring, and publishing information relevant to the
                                                             functioning of markets for consumer financial products and services to identify risks
                                                             to consumers and the proper functioning of such markets;
12 U.S.C. 5511                 CFPA                          (4)subject to sections 5514 through 5516 of this title, supervising covered persons Primary Functions of the CFPB
                                                             for compliance with Federal consumer financial law, and taking appropriate
                                                             enforcement action to address violations of Federal consumer financial law;
                                                             (5)issuing rules, orders, and guidance implementing Federal consumer financial
                                                             law; and
                                                             (6)performing such support activities as may be necessary or useful to facilitate the
                                                             other functions of the Bureau.


                                                             (1) In order to support its rulemaking and other functions, the Bureau shall monitor
12 U.S.C. 5512(c)(1), (3)(A)   CFPA                          for risks to consumers in the offering or provision of consumer financial products or Market Monitoring
                                                             services, including developments in markets for such products or services.

                                                             In collecting information from any person, publicly releasing information held by the
                                                             Bureau, or requiring covered persons to publicly report information, the Bureau
                                                             shall take steps to ensure that proprietary, personal, or confidential consumer
12 U.S.C. 5512(c)(8)           CFPA
                                                             information that is protected from public disclosure under [the Freedom of
                                                             Information Act] or [the Privacy Act of 1974], or any other provision of law, is not
                                                             made public under this title.


                                                             The Bureau shall require reports and conduct examinations on a periodic basis of
                                                             persons described in subsection (a)(1) for purposes of—
                                                             (A)assessing compliance with the requirements of Federal consumer financial law;
                                                                                                                                                Supervision of Nondepository Covered
12 U.S.C. 5514(b)(1)           CFPA                          (B)obtaining information about the activities and compliance systems or procedures
                                                                                                                                                Persons
                                                             of such person; and
                                                             (C)detecting and assessing risks to consumers and to markets for consumer
                                                             financial products and services.

                                                             The Bureau shall exercise its authority under paragraph (1) in a manner designed
                                                             to ensure that such exercise, with respect to persons described in subsection (a)(1), Risk-Based Supervision Program for
12 U.S.C. 5514(b)(2)           CFPA                          is based on the assessment by the Bureau of the risks posed to consumers in the Supervision of Nondepository Covered
                                                             relevant product markets and geographic markets, and taking into consideration        Persons
                                                             [various factors].




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                            Government Organization and
Title 5 of U.S.C.                                         [Requirements for the organization of the workforce.]
                            Employees, Generally

                                                          The Bureau shall have exclusive authority to require reports and conduct
                                                          examinations on a periodic basis of persons described in subsection (a) for
                                                          purposes of—
                                                          (A)assessing compliance with the requirements of Federal consumer financial laws; Supervision of Very Large Banks,
12 U.S.C. 5515(b)(1)        CFPA
                                                          (B)obtaining information about the activities subject to such laws and the        Savings Associations, and Credit Unions
                                                          associated compliance systems or procedures of such persons; and
                                                          (C)detecting and assessing associated risks to consumers and to markets for
                                                          consumer financial products and services.


                                                          HMDA: [Requiring entities to report] the difference between the annual percentage
                                                          rate associated with the loan and a benchmark rate or rates for all loans.
                                                          TILA: The Bureau—
12 U.S.C. 2804(b)(5)(B)                                   (A)shall publish, and update at least weekly, average prime offer rates;
15 U.S.C. 1639c(b)(2)(B),   HMDA, TILA                    (B)may publish multiple rates based on varying types of mortgage transactions; and APOR
(c)(2)                                                    (C)shall adjust the thresholds established under subclause (I), (II), and (III) of
                                                          paragraph (1)(B)(ii) as necessary to reflect significant changes in market conditions
                                                          and to effectuate the purposes of the Mortgage Reform and Anti-Predatory Lending
                                                          Act.


                                                          All public datasets published by the Bureau shall be--(1) made available as an open
                                                          Government data asset; (2) freely available for download; (3) rendered in a human-
12 U.S.C. 5499              FDTA
                                                          readible format; and (4) accessible via application programming interface where
                                                          appropriate.


                                                          (a) The Bureau shall establish, in consultation with the appropriate Federal
                                                          regulatory agencies, reasonable procedures to provide a timely response to
                                                          consumers, in writing where appropriate, to complaints against, or inquiries
                                                          concerning, a covered person, including [list of duties]
12 U.S.C. 5534              CFPA                          (b) A covered person subject to supervision and primary enforcement by the            Consumer Response Duties
                                                          Bureau pursuant to section 5515 of this title shall provide a timely response, in
                                                          writing where appropriate, to the Bureau, the prudential regulators, and any other
                                                          agency having jurisdiction over such covered person concerning a consumer
                                                          complaint or inquiry, including [list of duties]




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                          Government Organization and
Title 5 of U.S.C.                                       [Requirements for the organization of the workforce.]
                          Employees, Generally


                                                        The Ombudsman designated under this subsection shall—
                                                        (1)in accordance with regulations of the Director, receive, review, and attempt to
                                                        resolve informally complaints from borrowers of loans described in subsection (a),
                                                        including, as appropriate, attempts to resolve such complaints in collaboration with
                                                        the Department of Education and with institutions of higher education, lenders,
                                                        guaranty agencies, loan servicers, and other participants in private education loan
                                                        programs;
                                                        (2)not later than 90 days after the designated transfer date, establish a
                                                        memorandum of understanding with the student loan ombudsman established
12 U.S.C. 5535(b)         CFPA                          under section 1018(f) of title 20, to ensure coordination in providing assistance to Duties of the Student Loan Ombudsman
                                                        and serving borrowers seeking to resolve complaints related to their private
                                                        education or Federal student loans;
                                                        (3)compile and analyze data on borrower complaints regarding private education
                                                        loans; and
                                                        (4)make appropriate recommendations to the Director, the Secretary, the Secretary
                                                        of Education, the Committee on Banking, Housing, and Urban Affairs and the
                                                        Committee on Health, Education, Labor, and Pensions of the Senate and the
                                                        Committee on Financial Services and the Committee on Education and Labor of
                                                        the House of Representatives.


12 U.S.C. 5561 et seq.    CFPA                          [Enforcement Powers of the CFPB]
                                                        [Requiring entities to submit HMDA data annually and make it available under
12 U.S.C. 2803(a)         HMDA                          systems prescribed by the Bureau, which, by regulation, require submission to, as    HMDA Submission
                                                        well as processing and publication by the Bureau.]
                                                        [T]the Bureau shall prescribe a standard format for the disclosures required under
12 U.S.C. 2803(e)         HMDA                                                                                                               HMDA Submission Format
                                                        this section.
                                                        [Requiring the CFPB, with other FFIEC agencies, to develop and maintain the
12 U.S.C. 2806(a)(1)      HMDA                                                                                                               HMDA Geocoder
                                                        HMDA gocoder tool.]
                                                        (a) [Requiring the FFIEC to publish HMDA data and summary tables.]

                                                        (b) Staff and data processing resources
                                                        The Bureau shall provide staff and data processing resources to the Council to
                                                        enable it to carry out the provisions of subsection (a).
12 U.S.C. 2809            HMDA                                                                                                               Annual HMDA Data Publication
                                                        (c) Availability to public
                                                        The data and tables required pursuant to subsection (a) shall be made available to
                                                        the public by no later than December 31 of the year following the calendar year on
                                                        which the data is based.
                                                        The data required to be compiled and maintained under this section by any
15 U.S.C. 1691c-2(f)(1)   ECOA                                                                                                               Business Lending Data Submission
                                                        financial institution shall be submitted annually to the Bureau.




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                               Government Organization and
Title 5 of U.S.C.                                                 [Requirements for the organization of the workforce.]
                               Employees, Generally
                                                                  Information compiled and maintained under this section shall be—
                                                                  (A)retained for not less than 3 years after the date of preparation;
                                                                  (B)made available to any member of the public, upon request, in the form required
15 U.S.C. 1691c-2(f)(2)        ECOA                                                                                                                  Business Lending Data Publication
                                                                  under regulations prescribed by the Bureau;
                                                                  (C)annually made available to the public generally by the Bureau, in such form and
                                                                  in such manner as is determined by the Bureau, by regulation.

                                                                  The Bureau shall issue guidance designed to facilitate compliance with the
                                                                  requirements of this section [1071], including assisting financial institutions in
15 U.S.C. 1691c-2(g)           ECOA                                                                                                                      Business Lending Data Guidance
                                                                  working with applicants to determine whether the applicants are women- owned,
                                                                  minority-owned, or small businesses for purposes of this section.

                                                                  A subdivision may be registered by filing with the Director [of the CFPB] a
                                                                  statement of record, meeting the requirements of this chapter and such rules and
15 U.S.C. 1704(a)              ILSA                                                                                                                    ILSA Subdivision Registration
                                                                  regulations as may be prescribed by the Director in furtherance of the provisions of
                                                                  this chapter.


                                                                  When developing, procuring, maintaining, or using electronic and information
                                                                  technology, each Federal department or agency, including the United States Postal
                                                                  Service, shall ensure, unless an undue burden would be imposed on the
                                                                  department or agency, that the electronic and information technology allows,
                                                                  regardless of the type of medium of the technology—
                                                                  (i) individuals with disabilities who are Federal employees to have access to and
29 U.S.C. 794d                 Rehabilitation Act (Section 508)   use of information and data that is comparable to the access to and use of the
                                                                  information and data by Federal employees who are not individuals with disabilities;
                                                                  and
                                                                  (ii) individuals with disabilities who are members of the public seeking information
                                                                  or services from a Federal department or agency to have access to and use of
                                                                  information and data that is comparable to the access to and use of the information
                                                                  and data by such members of the public who are not individuals with disabilities.


44 U.S.C. 3101 et seq., 3301 et
                                Federal Records Act               [Requirements for establishing a Federal Records Act compliance program.]
seq.

                                                                  [Requirement to conduct privacy impact assessments related to the collection,
44 U.S.C. 3501 note            E-Government Act of 2002
                                                                  maintentance, and dissemination of information in identifiable form.]

44 U.S.C. 3554(b)              FISMA                              [Requirements for an agency-wide information security program.]




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                                       (a)During the months of October and April of each year, each agency shall publish in the Federal Register a
                                       regulatory flexibility agenda which shall contain—
                                       (1)a brief description of the subject area of any rule which the agency expects to propose or promulgate which is
                                       likely to have a significant economic impact on a substantial number of small entities;
                                       (2)a summary of the nature of any such rule under consideration for each subject area listed in the agenda pursuant
                                       to paragraph (1), the objectives and legal basis for the issuance of the rule, and an approximate schedule for
                                       completing action on any rule for which the agency has issued a general notice of proposed rulemaking,[1] and
5 U.S.C. 602           SBREFA                                                                                                                                 Regulatory Agenda
                                       (3)the name and telephone number of an agency official knowledgeable concerning the items listed in paragraph
                                       (1).
                                       (b)Each regulatory flexibility agenda shall be transmitted to the Chief Counsel for Advocacy of the Small Business
                                       Administration for comment, if any.
                                       (c)Each agency shall endeavor to provide notice of each regulatory flexibility agenda to small entities or their
                                       representatives through direct notification or publication of the agenda in publications likely to be obtained by such
                                       small entities and shall invite comments upon each subject area on the agenda.

                                       Each Office shall submit to Congress an annual report regarding the actions taken by the agency and the Office
                                       pursuant to this section, which shall include—
                                       (1)a statement of the total amounts paid by the agency to contractors since the previous report;
                                       (2)the percentage of the amounts described in paragraph (1) that were paid to contractors described in subsection
                                       (c)(1);
12 U.S.C. 5452(e)      DFA             (3)the successes achieved and challenges faced by the agency in operating minority and women outreach                      OMWI Report
                                       programs;
                                       (4)the challenges the agency may face in hiring qualified minority and women employees and contracting with
                                       qualified minority-owned and women-owned businesses; and
                                       (5)any other information, findings, conclusions, and recommendations for legislative or agency action, as the
                                       Director determines appropriate.
                                                                                                                                                                  Consumer Complaint
12 U.S.C. 5493(b)(3)(C) CFPA           Reports to Congress. The Director shall present an annual report to Congress...on the complaints received ...
                                                                                                                                                                  Reporting

12 U.S.C. 5493(c)(2)(D)                [The Office of Fair Lending shall] provid[e] annual reports to Congress on the efforts of the Bureau to fulfill its fair   Fair Lending/ECOA Annual
                        CFPA, ECOA
15 U.S.C. 1691f                        lending mandate.                                                                                                           Report

                                       [T]he Director shall [annually] submit a report on its financial literacy activities and strategy to improve financial
                                       literacy of consumers to—
12 U.S.C. 5493(d)(4)   CFPA                                                                                                                                       Financial Literacy Reports
                                       (A)the Committee on Banking, Housing, and Urban Affairs of the Senate; and
                                       (B)the Committee on Financial Services of the House of Representatives.




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                                  [Requiring the Bureau to prepare and submit before each semi-annual Congressional hearing reports that] shall
                                  include—(1) a discussion of the significant problems faced by consumers in shopping for or obtaining consumer
                                  financial products or services; (2) a justification of the budget request of the previous year; (3) a list of the significant
                                  rules and orders adopted by the Bureau, as well as other significant initiatives conducted by the Bureau, during the
                                  preceding year and the plan of the Bureau for rules, orders, or other initiatives to be undertaken during the
                                  upcoming period; (4) an analysis of complaints about consumer financial products or services that the Bureau has
                                  received and collected in its central database on complaints during the preceding year; (5) a list, with a brief              Semi-Annual Reports to
12 U.S.C. 5496(b)–(c)   CFPA
                                  statement of the issues, of the public supervisory and enforcement actions to which the Bureau was a party during Congress
                                  the preceding year; (6) the actions taken regarding rules, orders, and supervisory actions with respect to covered
                                  persons which are not credit unions or depository institutions; (7) an assessment of significant actions by State
                                  attorneys general or State regulators relating to Federal consumer financial law; (8) an analysis of the efforts of the
                                  Bureau to fulfill the fair lending mission of the Bureau; and (9) an analysis of the efforts of the Bureau to increase
                                  workforce and contracting diversity consistent with the procedures established by the Office of Minority and Women
                                  Inclusion.

                                  The Bureau shall prepare annual financial statements and implement and maintain financial management systems.
12 U.S.C. 5497(a)(4)(A)-          The Director shall provide to the Office of Management and Budget copies of the financial operating plans and
                         CFPA
(D)                               forecasts and provide to the Comptroller General an assertion as to the effectiveness of the Bureau's internal
                                  financial controls.
                                  ANNUAL REPORT.—The Director shall prepare and submit a report, on an annual basis, to the Committee on
                                  Appropriations of the Senate and the Committee on Appropriations of the House of Representatives regarding the
12 U.S.C. 5497(e)(4)    CFPA      financial operating plans and forecasts of the Director, the financial condition and results of operations of the         Annual Financial Report
                                  Bureau, and the sources and application of funds of the Bureau, including any funds appropriated in accordance
                                  with this subsection.
                                  (1) In order to support its rulemaking and other functions, the Bureau shall monitor for risks to consumers in the
                                  offering or provision of consumer financial products or services, including developments in markets for such
12 U.S.C. 5512(c)(1),             products or services.                                                                                                     Market Monitoring and
                        CFPA
(3)(A)                            (3)(A) The Bureau shall publish not fewer than 1 report of significant findings of its monitoring required by this        Reporting
                                  subsection in each calendar year, beginning with the first calendar year that begins at least 1 year after the
                                  designated transfer date.

                                  (1)The Bureau shall conduct an assessment of each significant rule or order adopted by the Bureau under Federal
                                  consumer financial law. The assessment shall address, among other relevant factors, the effectiveness of the rule
                                  or order in meeting the purposes and objectives of this title and the specific goals stated by the Bureau. The
                                  assessment shall reflect available evidence and any data that the Bureau reasonably may collect.                          Significant Rule Five-Year
12 U.S.C. 5512(d)       CFPA
                                  (2) The Bureau shall publish a report of its assessment under this subsection not later than 5 years after the            Assessment
                                  effective date of the subject rule or order.
                                  (3) Before publishing a report of its assessment, the Bureau shall invite public comment on recommendations for
                                  modifying, expanding, or eliminating the newly adopted significant rule or order.

                                  The Ombudsman shall prepare an annual report that describes the activities, and evaluates the effectiveness of the Student Loan Ombudsman
12 U.S.C. 5535(d)       CFPA
                                  Ombudsman during the preceding year.                                                                               Report




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                                            The Director of the Bureau of Consumer Financial Protection (hereafter in this section referred to as the “Director”)
                                            shall prepare, at least once every 5 years, a booklet to help consumers applying for federally related mortgage loans
                                            to understand the nature and costs of real estate settlement services. The Director shall prepare the booklet in
                                            various languages and cultural styles, as the Director determines to be appropriate, so that the booklet is
12 U.S.C. 2604           RESPA                                                                                                                                     Home Buyer's Guide
                                            understandable and accessible to homebuyers of different ethnic and cultural backgrounds. The Director shall
                                            distribute such booklets to all lenders that make federally related mortgage loans. The Director shall also distribute
                                            to such lenders lists, organized by location, of homeownership counselors certified under section 1701x(e) of this
                                            title for use in complying with the requirement under subsection (c) of this section.

                                            The Bureau, in consultation with the Secretary of Housing and Urban Development, shall report annually to the
12 U.S.C. 2807           HMDA                                                                                                                                        HMDA Annual Report
                                            Congress on the utility of the requirements of section 2803(b)(4) of this title.
                                            The Bureau shall submit to the Congress, and make available to the public, an annual report that lists the
15 U.S.C. 1637(r)(e)     TILA/CARD Act      information concerning credit card agreements submitted to the Bureau under paragraph (2) by each institution of         CARD Act Annual Report
                                            higher education, alumni organization, or foundation.

                                            [T]he Bureau shall make [annual] reports to the Congress concerning the administration of its functions under this
                                            subchapter, including such recommendations as the Bureau deems necessary and appropriate. In addition, each
15 U.S.C. 1693p          EFTA                                                                                                                                        EFTA Annual Report
                                            report of the Bureau shall include its assessment of the extent to which compliance with this subchapter is being
                                            achieved, and a summary of the enforcement actions taken under section 1693o [1] of this title.

                                            Not later than one year after the effective date of this subchapter and at one-year intervals thereafter, the Bureau
                                            shall make reports to the Congress concerning the administration of its functions under this subchapter, including
15 U.S.C. 1692m(a)       FDCPA              such recommendations as the Bureau deems necessary or appropriate. In addition, each report of the Bureau shall FDCPA Annual Report
                                            include its assessment of the extent to which compliance with this subchapter is being achieved and a summary of
                                            the enforcement actions taken by the Bureau under section 1692l of this title.

                                            Each year the Bureau shall make a report to the Congress concerning the administration of its functions under [the
                                            CCPA], including such recommendations as the Bureau deems necessary or appropriate. In addition, each report of
15 U.S.C. 1613           CCPA                                                                                                                                  CCPA Annual Report
                                            the Bureau shall include its assessment of the extent to which compliance with the requirements imposed under this
                                            subchapter is being achieved.
                                            Subject to subsection (b), not later than 180 days after the end of each fiscal year, each Federal agency shall submit
Pub. L. No. 107-174, s                      to the Speaker of the House of Representatives, the President pro tempore of the Senate, the Committee on
203(a), 116 Stat. 566                       Governmental Affairs of the Senate, the Committee on Government Reform of the House of Representatives, each
(2002)                                      committee of Congress with jurisdiction relating to the agency, the Equal Employment Opportunity Commission, and
                         NO FEAR Act        the Attorney General an annual report ...




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                                              Not later than the end of the third quarter of each fiscal year, the head of each executive agency shall submit to the
                                              Director of the Office of Management and Budget a list of activities performed by Federal Government sources for
                                              the executive agency that, in the judgment of the head of the executive agency, are not inherently governmental
                         Federal Activities   functions. .... Within a reasonable time after the date on which a notice of the public availability of a list is published
P.L. 105-270 s.2, (31
                         Inventory Reform     under subsection (c), the head of the executive agency concerned shall review the activities on the list. Each time
U.S.C. 501 (note))
                         Act of 1998          that the head of the executive agency considers contracting with a private sector source for the performance of such
                                              an activity, the head of the executive agency shall use a competitive process to select the source (except as may
                                              otherwise be provided in a law other than this Act, an Executive order, regulations, or any executive branch circular
                                              setting forth requirements or guidance that is issued by competent executive authority).

                                              Not later than 2 years after the effective date of this Act and every 2 years thereafter, except as provided in
15 U.S.C. 1616(a)        CARD Act/TILA        subsection (c)(2), the [Bureau] shall conduct a review, within the limits of its existing resources available for
                                              reporting purposes, of the consumer credit card market,
                        Good Accounting
Pub. L. No. 115-414,                          The GAO-IG Act requires agencies to “submit reports on outstanding recommendations in the annual budget
                        Obligation in
(31 U.S.C. 1105 (note))                       justification submitted to Congress.”
                        Government Act
Pub. L. No. 111-274 s.                        Not later than 18 months after the date of enactment of this Act, and annually thereafter, the head of each agency
5(b), (5 U.S.C. 301      Plain Writing Act    shall publish on the plain writing section of the agency’s website a report on agency compliance with the
(note))                                       requirements of this Act.




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Mandatory Annual Rules
                                                                [T]he Bureau [of Consumer Financial Protection] shall adjust annually the dollar
                                                                amounts described in sections 104(3) and 181(1) of the Truth in Lending Act [15
Pub. L. 111–203, Sec. 1100E(b) (2010)                           U.S.C. 1603(3), 1667(1)] (as amended by this section), by the annual percentage
                                          CFPA/TILA
(15 U.S.C. 1603 (Note))                                         increase in the Consumer Price Index for Urban Wage Earners and Clerical Workers,
                                                                as published by the Bureau of Labor Statistics, rounded to the nearest multiple of
                                                                $100, or $1,000, as applicable.
Pub. L. 104-134, sec. 31001(s)(1); Pub.   Inflation Adjustment [Requires Federal agencies to adjust the civil penalty amounts within their
L. 114-74, sec. 701                       Act                  jurisdictions for inflation not later than January 15 every year]

                                                                Subject to paragraph (2), the dollar amount applicable with respect to institutions
                                                                described in section 2802(2)(A) 1 of this title under the 2d sentence of subsection (a)
12 U.S.C. 2808(b)                         HMDA                  shall be adjusted annually after December 31, 1996, by the annual percentage
                                                                increase in the Consumer Price Index for Urban Wage Earners and Clerical Workers
                                                                published by the Bureau of Labor Statistics.

                                                                The Bureau shall increase the amount referred to in paragraph (1)(A)(i) [that
                                                                consumers can be required to pay for a consumer report] on January 1 of each year,
15 U.S.C. 1681j(f)(2)                     FCRA
                                                                based proportionally on changes in the Consumer Price Index, with fractional
                                                                changes rounded to the nearest fifty cents.

Oustanding Mandatory Rules

                                                                (a) Subject to rules prescribed by the Bureau, a covered person shall make available
                                                                to a consumer, upon request, information in the control or possession of the covered
                                                                person concerning the consumer financial product or service that the consumer
                                                                obtained from such covered person, including information relating to any transaction,
                                                                series of transactions, or to the account including costs, charges and usage data.
12 U.S.C. 5533(a), (d)                    CFPA
                                                                The information shall be made available in an electronic form usable by consumers. .
                                                                . . (d) The Bureau, by rule, shall prescribe standards applicable to covered persons to
                                                                promote the development and use of standardized formats for information, including
                                                                through the use of machine readable files, to be made available to consumers under
                                                                this section.




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                                                 The Bureau shall prescribe regulations to prohibit— (A) mortgage originators from
                                                 steering any consumer to a residential mortgage loan that— (i) the consumer lacks a
                                                 reasonable ability to repay (in accordance with regulations prescribed under section
                                                 1639c(a) of this title); or (ii) has predatory characteristics or effects (such as equity
                                                 stripping, excessive fees, or abusive terms); (B) mortgage originators from steering
                                                 any consumer from a residential mortgage loan for which the consumer is qualified
                                                 that is a qualified mortgage (as defined in section 1639c(b)(2) of this title) to a
                                                 residential mortgage loan that is not a qualified mortgage; (C) abusive or unfair
15 U.S.C. 1639b(c)(3)          TILA              lending practices that promote disparities among consumers of equal credit
                                                 worthiness but of different race, ethnicity, gender, or age; and (D) mortgage
                                                 originators from— (i) mischaracterizing the credit history of a consumer or the
                                                 residential mortgage loans available to a consumer; (ii) mischaracterizing or
                                                 suborning the mischaracterization of the appraised value of the property securing the
                                                 extension of credit; or (iii) if unable to suggest, offer, or recommend to a consumer a
                                                 loan that is not more expensive than a loan for which the consumer qualifies,
                                                 discouraging a consumer from seeking a residential mortgage loan secured by a
                                                 consumer's principal dwelling from another mortgage originator.



                                                 The Bureau of Consumer Financial Protection shall— (1) review the regulations
                                                 identified by the Comptroller of the Currency and the National Credit Union
                                                 Administration, (as those rules exist on the designated transfer date), as applicable
12 U.S.C. 3803(d)              AMTPA             under paragraphs (1) through (3) of subsection (a); (2) determine whether such
                                                 regulations are fair and not deceptive and otherwise meet the objectives of the
                                                 Consumer Financial Protection Act of 2010; and (3) promulgate regulations under
                                                 subsection (a)(4) after the designated transfer date.




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                                                   Not later than 18 months after December 23, 2022, the heads of the covered
                                                   agencies [including CFPB] shall jointly issue proposed rules for public comment that
                                                   establish data standards for—(A) the collections of information reported to each
                                                   covered agency by financial entities under the jurisdiction of the covered agency; and
12 U.S.C. 5334                   FDTA
                                                   (B) the data collected from covered agencies on behalf of the [FFIEC]. (2) Final rules.
                                                   Not later than 2 years after December 23, 2022, the heads of the covered agencies
                                                   shall jointly promulgate final rules that establish the data standards described in
                                                   paragraph (1).


                                                   The Bureau shall, by rule, adopt data standards for all collections of information that
                                                   are regularly filed with or submitted to the Bureau. The data standards ... shall
12 U.S.C. 5498                   FDTA
                                                   incorporate, and ensure compatibility with (to the extent feasible), all applicable data
                                                   standards established in the rules promulgated under section 5334 of this title


                                                   The Bureau and the prudential regulators shall prescribe rules to provide safeguards
                                                   from retaliation against the insured depository institution, insured credit union, or
12 U.S.C. 5515(e)(4)(E)          CFPA
                                                   other covered person described in subsection (a) instituting an appeal under this
                                                   paragraph, as well as their officers and employees.



Other




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                                                (1) Notice of proposed rule required
                                                The Bureau shall issue a notice of proposed rulemaking whenever a majority of the
                                                States has enacted a resolution in support of the establishment or modification of a
                                                consumer protection regulation by the Bureau.
                                                (2) Bureau considerations required for issuance of final regulation
                                                Before prescribing a final regulation based upon a notice issued pursuant to
                                                paragraph (1), the Bureau shall take into account whether-
12 U.S.C. 5551(c)(1)          CFPA
                                                (A) the proposed regulation would afford greater protection to consumers than any
                                                existing regulation;
                                                (B) the intended benefits of the proposed regulation for consumers would outweigh
                                                any increased costs or inconveniences for consumers, and would not discriminate
                                                unfairly against any category or class of consumers; and
                                                (C) a Federal banking agency has advised that the proposed regulation is likely to
                                                present an unacceptable safety and soundness risk to insured depository institutions.




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5 U.S.C. 553            APA              [Requirements for notice-and-comment rulemaking.]

                                         In prescribing a rule under the Federal consumer financial laws—
                                         (A)the Bureau shall consider—
                                         (i)the potential benefits and costs to consumers and covered persons, including the potential
                                         reduction of access by consumers to consumer financial products or services resulting from such
                                         rule; and
                                         (ii)the impact of proposed rules on covered persons, as described in section 5516 of this title, and
                                         the impact on consumers in rural areas;
                                         (B)the Bureau shall consult with the appropriate prudential regulators or other Federal agencies prior
12 U.S.C. 5512(b)(2)    CFPA
                                         to proposing a rule and during the comment process regarding consistency with prudential, market,
                                         or systemic objectives administered by such agencies; and
                                         (C)if, during the consultation process described in subparagraph (B), a prudential regulator provides
                                         the Bureau with a written objection to the proposed rule of the Bureau or a portion thereof, the
                                         Bureau shall include in the adopting release a description of the objection and the basis for the
                                         Bureau decision, if any, regarding such objection, except that nothing in this clause shall be
                                         construed as altering or limiting the procedures under section 5513 of this title that may apply to any
                                         rule prescribed by the Bureau.

                                         Before a rule can take effect, the Federal agency promulgating such rule shall submit to each House
                                         of the Congress and to the Comptroller General a report containing—
                        Congressional
5 U.S.C. 801(a)(1)(A)                    (i)a copy of the rule;
                        Review Act
                                         (ii)a concise general statement relating to the rule, including whether it is a major rule; and
                                         (iii)the proposed effective date of the rule.

                        Paperwork
44 U.S.C. 3506(c)(2)                     [Requiring notice and comment in proposed rulemaking for any proposed collection of information.]
                        Reduction Act

                                         [Requiring a regulatory flexibility analysis, which entails assessing whether a rule will have a
5 U.S.C. 603–604        SBREFA           significant impact on a substantial number of small entities, whenever agencies issue proposed and
                                         final rules. Additional substantial requirements follow if the rule has such an impact.]




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                                           [A]ll agencies of the Federal Government shall . . . consistent with the provisions of this chapter and
                                           except where compliance would be inconsistent with other statutory requirements, include in every
                                           recommendation or report on proposals for legislation and other major Federal actions significantly
                                           affecting the quality of the human environment, a detailed statement by the responsible official on—
                                           (i)reasonably foreseeable environmental effects of the proposed agency action;
                                           (ii)any reasonably foreseeable adverse environmental effects which cannot be avoided should the
                        National           proposal be implemented;
42 U.S.C. 4332(c)       Environmental      (iii)a reasonable range of alternatives to the proposed agency action, including an analysis of any
                        Policy Act         negative environmental impacts of not implementing the proposed agency action in the case of a no
                                           action alternative, that are technically and economically feasible, and meet the purpose and need of
                                           the proposal;
                                           (iv)the relationship between local short-term uses of man’s environment and the maintenance and
                                           enhancement of long-term productivity; and
                                           (v)any irreversible and irretrievable commitments of Federal resources which would be involved in
                                           the proposed agency action should it be implemented.

                                           [Any documents of "general applicability and legal effect," a category that applies broadly to CFPB
44 U.S.C. 1505          Federal Register
                                           rulemaking, must be published in the Federal Register.]
                                         Agency electronic dockets shall make publicly available online to the extent practicable, as
Pub L. No. 107–347, §                    determined by the agency in consultation with the Director—
                        E–Government Act
206(d)(2) (44 U.S.C.                     (A)all submissions under section 553(c) of title 5, United States Code; and
                        of 2002
3501(note))                              (B)other materials that by agency rule or practice are included in the rulemaking docket under
                                         section 553(c) of title 5, United States Code, whether or not submitted electronically.




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            The CFPB is responsible for administering, though regulations and enforcement as appropriate, the following statutes:

              the Alternative Mortgage Transaction Parity Act of 1982 (12 U.S.C. 3801 et seq.);
              the Consumer Leasing Act of 1976 (15 U.S.C. 1667 et seq.);
              the Electronic Fund Transfer Act (15 U.S.C. 1693 et seq.), except with respect to section 920 of that Act [15 U.S.C.
              1693o–2];
              the Equal Credit Opportunity Act (15 U.S.C. 1691 et seq.);
              the Fair Credit Billing Act (15 U.S.C. 1666 et seq.);
              the Fair Credit Reporting Act (15 U.S.C. 1681 et seq.), except with respect to sections 615(e) and 628 of that Act
              (15 U.S.C. 1681m(e), 1681w);
              the Home Owners Protection Act of 1998 (12 U.S.C. 4901 et seq.);
              the Fair Debt Collection Practices Act (15 U.S.C. 1692 et seq.);
              subsections (b) through (f) of section 43 of the Federal Deposit Insurance Act (12 U.S.C. 1831t(c)[(b)]–(f));
              sections 502 through 509 of the Gramm-Leach-Bliley Act (15 U.S.C. 6802–6809) except for section 505 [15 U.S.C.
              6805] as it applies to section 501(b) [15 U.S.C. 6801(b)];
              the Home Mortgage Disclosure Act of 1975 (12 U.S.C. 2801 et seq.);
              the Home Ownership and Equity Protection Act of 1994 (15 U.S.C. 1601 note);
              the Real Estate Settlement Procedures Act of 1974 (12 U.S.C. 2601 et seq.);
              the S.A.F.E. Mortgage Licensing Act of 2008 (12 U.S.C. 5101 et seq.);
              the Truth in Lending Act (15 U.S.C. 1601 et seq.);
              the Truth in Savings Act (12 U.S.C. 4301 et seq.);
              section 626 of the Omnibus Appropriations Act, 2009 (Public Law 111–8) [12 U.S.C. 5538]; and
              the Interstate Land Sales Full Disclosure Act (15 U.S.C. 1701).




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